
976 So.2d 1273 (2008)
In re David C. WILLARD.
No. 2007-OB-1899.
Supreme Court of Louisiana.
March 19, 2008.
In re Willard, David C;  Plaintiff; Applying for Petition for Reinstatement from Disability Inactive Status to Active Status.

ORDER
Considering the Petition for Reinstatement from Disability Inactive Status filed by respondent, David C. Willard, the response thereto filed by the Office of Disciplinary Counsel, and the findings and recommendation of the hearing committee,
IT IS ORDERED that David C. Willard, Louisiana Bar Roll number 20420, be reinstated to the practice of law, subject to the condition that he must execute a new five-year recovery agreement with the Lawyers Assistance Program. Respondent shall fully and completely adhere to all terms of the recovery agreement, and such other conditions as may be imposed upon him by the Lawyers Assistance Program. The Office of Disciplinary Counsel shall monitor respondent's compliance with his recovery agreement and notify this court of any violation, which may be grounds for immediately returning respondent to disability inactive status.
/s/ Bernette J. Johnson Justice, Supreme Court of Louisiana
CALOGERO, C.J., and WEIMER, J., recused.
